        Case 1:24-cv-04855-ENV-SJB Document 3-1 Filed 07/15/24 Page 1 of 2 PageID #: 18

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                     GEMANE NETTLES                                  )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 24-cv-4855
                                                                     )
 F.W.K. HOLDING LLC and HALAL CROWN FRIED                            )
                CHICKEN LLC                                          )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Halal Crown Fried Chicken LLC
                                           C/O NORTHWEST REGISTERED AGENT LLC
                                           418 Broadway, Suite N
                                           Albany, New York 12207




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Maria-Constanza Barducci, Esq. (Bar No. 5070487)
                                           Barducci Law Firm, PLLC
                                           5 West 19 Street, 10th Floor
                                           New York, New York 10011
                                           (212) 433-2554

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK
                                                                               CLER
                                                                               CL ERK
                                                                                  ER      COURT
                                                                                     K OF C OURT
                                                                                            OU RT


Date:             07/15/2024
                                                                                          SSignature
                                                                                           Sign
                                                                                           Si
                                                                                            ign
                                                                                              gnat
                                                                                              gnat
                                                                                                attur
                                                                                                   ure of C
                                                                                                   ur     Clerk
                                                                                                            lerk
                                                                                                            le rkk oorr De
                                                                                                                        D
                                                                                                                        Deputy
                                                                                                                          epu
                                                                                                                           puty C
                                                                                                                           puty Clerk
                                                                                                                                  lerrkk
                                                                                                                                  lerk
                                                                                                                                  le
         Case 1:24-cv-04855-ENV-SJB Document 3-1 Filed 07/15/24 Page 2 of 2 PageID #: 19

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 24-cv-4855

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
